         Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 1 of 13

                               United States Court of Appeals
                                     For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South I 0th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
Clerk of Court
                                                                              www.ca8.uscourts.gov

                                                             July 21, 2023


Mr. Nicholas J. Bronni                                    4:21-cv-00450-JM
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

       RE: 23-2681 Dylan Brandt, et al v. Tim Griffin, et al

Dear Counsel:

        The district court clerk has transmitted a notice of appeal and docket entries in this
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to this
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www .ca8.uscourts.gov.

        We note the docketing fee is pending. Please pay the $505 docket and filing fees to
the district court clerk immediately. Failure to pay the fee will result in issuance of an
order to show cause why the appeal should not be dismissed.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please refer to the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Sample briefs may be obtained by contacting the St. Louis
Clerk's office.

        Within 14 days of today's date, counsel for appellant must: (1) file a verification that any
transcripts needed for the appeal have been ordered and that satisfactory arrangements have been
made for payment, and (2) file a notice of the method of appendix preparation selected for the
case. Eighth Circuit Rule 30A contains detailed information on appendix preparation.




   Appellate Case: 23-2681         Page: 1           Date Filed: 07/21/2023 Entry ID: 5298264
          Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 2 of 13



        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to file your brief will result in issuance of a show cause order and may
lead to dismissal of the appeal. Requests for extensions of time must be timely and should
establish good cause. Overlength briefs are strongly discouraged.

       Please note the provisions of Eighth Circuit Rule 32A governing briefs and reply briefs
responding to multiple briefs.

        If you have any questions about the schedule or procedures for the case, please contact
our office

                                                     Michael E. Gans
                                                     Clerk of Court

AEV

Enclosure( s)

cc:      Mr. Garrard R. Beeney
         Mr. Michael A. Cantrell
         Ms. Clerk, U.S. District Court, Eastern District of Arkansas
         Ms. Leslie Cooper
         Ms. Karen Dellinger
         Ms. Sharon Elizabeth Echols
         Mr. James D. Esseks
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         Ms. Lauren Maisel Goldsmith
         Mr. Aviv S. Halpern
         Ms. Elaine M Hinson
         Mr. Alexander S. Holland
         Mr. Dylan L. Jacobs
         Mr. Jonathan G. Lester
         Mr. Peter Drake Mann
         Ms. Maxime D. Matthew
         Mr. Li Nowlin-Sohl
         Ms. Laura Kabler Oswell
         Mr. Daniel J. Richardson
         Mr. Chase B. Strangio
         Ms. Hannah Lorraine Templin
         Mr. Christopher L. Travis
         Ms. Breean Walas

            District Court/Agency Case Number(s): 4:21-cv-00450-JM




      Appellate Case: 23-2681       Page: 2      Date Filed: 07/21/2023 Entry ID: 5298264
         Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 3 of 13

Caption For Case Number: 23-2681

Dylan Brandt, by and through his mother Joanna Brandt; Joanna Brandt; Sabrina Jennen, by and
through her parents Lacey and Aaron Jennen; Lacey Jennen; Aaron Jennen; Brooke Dennis, by
and through her parents Amanda and Shayne Dennis; Amanda Dennis; Shayne Dennis; Parker
Saxton, by and through his father Donnie Saxton; Donnie Saxton; Michele Hutchison, on behalf
of herself and her patients; Kathryn Stambough, on behalf of herself and her patients

            Plaintiffs - Appellees

V.

Tim Griffin, in his official capacity as the Arkansas Attorney General; Amy E. Embry, in her
official capacity as the Executive Director of the Arkansas State Medical Board; Michael J.
Birrer, in official capacity as member of the Arkansas State Medical Board; Christopher D.
Davis, in official capacity as member of the Arkansas State Medical Board; John H. Scribner, in
official capacity as member of the Arkansas State Medical Board; Elizabeth Anderson, in official
capacity as member of the Arkansas State Medical Board; C. Wesley Kluck, in official capacity
as member of the Arkansas State Medical Board; Edward Gardner, "Ward"; in official capacity
as member of the Arkansas State Medical Board; Rodney Griffin, in official capacity as member
of the Arkansas State Medical Board; Betty Guhman, in official capacity as member of the
Arkansas State Medical Board; Brian L. McGee, in official capacity as member of the Arkansas
State Medical Board; Timothy C. Paden, in official capacity as member of the Arkansas State
Medical Board; Don R. Philips, in official capacity as member of the Arkansas State Medical
Board; Matthew A. Sellers, in official capacity as member of the Arkansas State Medical Board;
Brad A. Thomas, in official capacity as member of the Arkansas State Medical Board; Veryl D.
Hodges, in official capacity as member of the Arkansas State Medical Board

            Defendants - Appellants




     Appellate Case: 23-2681         Page: 3   Date Filed: 07/21/2023 Entry ID: 5298264
         Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 4 of 13

Addresses For Case Participants: 23-2681

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   Appellate Case: 23-2681        Page: 4      Date Filed: 07/21/2023 Entry ID: 5298264
        Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 5 of 13

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   Appellate Case: 23-2681    Page: 5   Date Filed: 07/21/2023 Entry ID: 5298264
        Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 6 of 13


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   Appellate Case: 23-2681   Page: 6   Date Filed: 07/21/2023 Entry ID: 5298264
                  Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 7 of 13


John Hibbs

From:                ca08ml_cmecf_Notify@ca8.uscourts.gov
Sent:                Friday, July 21, 2023 2:11 PM
Subject:             23-2681 Dylan Brandt, et al v. Tim Griffin, et al "CIVIL case docketed" (4:21-cv-00450-JM)



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                                               Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 07/21/2023


Case Name:       Dylan Brandt, et al v. Tim Griffin, et al
Case Number:     23-2681
Document(s):     Document(s)




Docket Text:
Civil case docketed. [5298264] [23-2681] (Adrienne Vonder Haar)

Notice will be electronically mailed to:

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                  Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 8 of 13

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The following document(s) are associated with this transaction :
Document Description: Civil Docketing Letter
Original Filename: /opt/ACECF/live/forms/AdrienneVonderHaar_232681_5298264_CivilDocketingLetters_104.pdf
Electronic Document Stamp:
[STAMP acecfStamp_lD=ll05112566 [Date=07/21/2023] [FileNumber=5298264-0]
[433fef52e06f5d09e5a995942fd5da2eea606f3db97978ab24054dfc25bfcd9c40b768ce3e4c22ae68b02cee34662e55c968
726097389be6c7240c54a27aec88]]
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    •   Mr. Chase B. Strangio
    •   Ms. Hannah Lorraine Templin, Assistant Attorney General
    •   Mr. Christopher L. Travis
    •   Ms. Breean Walas

The following information is for the use of court personnel:



DOCKET ENTRY ID: 5298264
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 7322851, 7322852




                                                               2
         Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 9 of 13

                       UNITED STATES COURT OF APPEALS
                                 FOR THE EIGHTH CIRCUIT

                         APPEAL BRIEFING SCHEDULE ORDER

Appeal No.     23-2681 Dylan Brandt, et al v. Tim Griffin, et al

Date:          July 21, 2023

                                 APPEAL REQUIREMENTS

1. Complete and file immediately:
   A. Corporate Disclosure Statement. See 8th Cir. R. 26. IA.
   B. Entry of Appearance Form.
      Forms are available at: www.ca8.uscourts.gov/all-forms

2. Prepare the Record on Appeal:
   A. Within 10 days, confer with opposing counsel and determine the method of Appendix
       preparation. See FRAP 30 and 8th Cir. R. 30A.
   B. Within 14 days, order any transcripts required for the appeal and arrange for payment.
      If no transcript is required, file a certificate of waiver. See FRAP I 0(b). Appellee
      should order any additional transcripts within 14 days of appellant's order.
   C. Review the "Record on Appeal" at: www.ca8.uscourts.gov/appeal-preparation-
information .

3. Review "Briefing Checklist" and "Pointers on Preparing Briefs" at:
   www.ca8.uscourts.gov/appeal-preparation-information .

                                 GENERAL INFORMATION

        The following filing dates are established for the appeal. The dates will only be extended
upon the filing of a timely motion establishing good cause for an extension of time. An extension
of time automatically extends the filing date for the responding or replying party's brief. Dates
are advanced if a party files its brief before the due date. Please refer to FRAP 25, FRAP 26 and
FRAP 31 for provisions governing filing and service, as well as computing and extending time.

       The Federal Rules of Appellate Procedure and the Eighth Circuit's Local Rules may be
found at www.ca8.uscourts.gov/rules-procedures

       The Practitioner's Handbook and the Court's Internal Operating Procedures may also be
found at the same address.




   Appellate Case: 23-2681         Page: 1      Date Filed: 07/21/2023 Entry ID: 5298270
         Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 10 of 13




                                 APPEAL BRIEFING SCHEDULE
                                       FILING DATES:


Method of Appendix Preparation Notification....................... 14 days from today

Designation & Statement oflssues-Appellant .. .. .. .. ... . ... . ... . ... 14 days from today

Designation of Record-Appellee . .. .. .. .. . 10 days from service of appellant's designation

Transcript .......................................................... 08/30/2023
   ( Karen Dellinger, Valarie Flora, Elaine Hinson)

Appendix (3 copies) .. .. ... . ... . ... . ... . ... . ... . ... . ... . ... . ... . ... . .. 09/11/2023
  ( Tim Griffin et al )

Appellant Brief with addendum ......................................... 09/11/2023
  ( Tim Griffin et al )


Appellee Brief. . ... . .... ... . ... . ... . ... . ... . .. 30 days from the date the court issues
                                                      the Notice of Docket Activity filing the brief.

Reply Brief ................................. .21 days from the date the court issues
                                         the Notice of Docket Activity filing the brief.


                        ALL BRIEFS AND APPENDICES SHOULD BE
                           FILED WITH THE ST. LOUIS OFFICE




    Appellate Case: 23-2681           Page: 2       Date Filed: 07/21/2023 Entry ID: 5298270
                 Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 11 of 13


John Hibbs

From:                ca08ml_cmecf_Notify@ca8.uscourts.gov
Sent:                Friday, July 21, 2023 2:16 PM
Subject:             23-2681 Dylan Brandt, et al v. Tim Griffin, et al "Civil Briefing Schedule Set" (4:21-cv-00450-JM)



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                                               Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 07/21/2023


Case Name:       Dylan Brandt, et al v. Tim Griffin, et al
Case Number:     23-2681
Document(s):     Document(s)




Docket Text:
BRIEFING SCHEDULE SET AS FOLLOWS:
Transcript due on or before 08/30/2023. Appendix due 09/11/2023. BRIEF APPELLANTS, Elizabeth Anderson, Michael J.
Birrer, Christopher D. Davis, Amy E. Embry, Edward Gardner, Rodney Griffin, Tim Griffin, Betty Guhman, Veryl D. Hodges,
C. Wesley Kluck, Brian L. McGee, Timothy C. Paden, Don R. Philips, John H. Scribner, Matthew A. Sellers and Brad A.
Thomas due 09/11/2023
Appellee brief is due 30 days from the date the court issues the Notice of Docket Activity filing the brief of appellant.
[5298270) [23-2681) (Adrienne Vonder Haar)

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                 Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 12 of 13

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The following document(s) are associated with this transaction :
Document Description: Briefing Schedule
Original Filename: /opt/ACECF/live/forms/AdrienneVonderHaar_232681_5298270 _AppealBriefingSchedule_l 72.pdf
Electronic Document Stamp:
[STAMP acecfStamp_lD=ll05112566 [Date=07/21/2023] [FileNumber=5298270-0]
[c2b2e209c44ce1073abc29879f5aa7a198a0cd8a67f9fa73469829e9c64ed9f3985d4722656134983bc885f4145ce8796c8
32447591af0b8214868e14f3db830]]
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    •   Mr. Christopher L. Travis
    •   Ms. Breean Walas

The following information is for the use of court personnel :



DOCKET ENTRY ID: 5298270

                                                                2
              Case 4:21-cv-00450-JM Document 291 Filed 07/25/23 Page 13 of 13

RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 7322861, 7322862




                                             3
